                                11TH COURT OF APPEALS
                                   EASTLAND, TEXAS
                                       JUDGMENT

In the matter of J.A.G., a juvenile,             * From the County Court at Law
                                                   of Ector County,
                                                   Trial Court No. 6283.

No. 11-24-00093-CV                               * August 8, 2024

                                                 * Memorandum Opinion by Trotter, J.
                                                   (Panel consists of: Bailey, C.J.,
                                                   Trotter, J., and Williams, J.)

     This court has inspected the record in this cause and concludes that there is no
error in the order below. Therefore, in accordance with this court’s opinion, the
order of the trial court is in all things affirmed.
